                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

SAMANTHA JO FRANCIS,                                                      C/A NO. 3:19-cv-00120

                           Plaintiff,

v.                                                                      NOTICE OF REMOVAL

MARRIOTT INTERNATIONAL, INC. d/b/a
THE WESTIN CHARLOTTE, STARWOOD-
CHARLOTTE MANAGEMENT, LLC,
MARRIOTT HOTEL SERVICES, INC., and
WESTIN CHARLOTTE PAYROLL
COMPANY,

                           Defendants.


TO THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF NORTH
CAROLINA:

         By this Notice of Removal, pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446,

Defendants Marriott International, Inc. d/b/a The Westin Charlotte, Starwood-Charlotte

Management, LLC, and Marriott Hotel Services, Inc. (“Defendants”), through undersigned

counsel, hereby remove this civil action from the General Court of Justice, Superior Court

Division, Mecklenburg County, North Carolina (the “Superior Court”), to the United States

District Court for the Western District of North Carolina, Charlotte Division. Defendants state the

following grounds for removal:1

         1.       On January 31, 2019, Plaintiff Samantha Jo Francis (“Plaintiff”) commenced this

action by filing a Complaint in the Superior Court, Case No. 19CVS1027 (“Complaint”).




1
  Defendants note that Westin Charlotte Payroll Company was dissolved in 1999 and no longer exists. Further,
Defendants are not aware of service of process being received by any Marriott International, Inc. related entity behalf
of Westin Charlotte Payroll Company.



        Case 3:19-cv-00120-MOC-DSC Document 1 Filed 03/08/19 Page 1 of 4
       2.      On February 7, 2019, Defendant Starwood-Charlotte Management, LLC, through

its registered agent, received the Summons and the Complaint. On February 8, 2019, Defendants

Marriott International, Inc., and Marriott Hotel Services, Inc., through their registered agents,

received the Summons and the Complaint. A true and accurate copy of the service of process

received by each of these Defendants is attached hereto as Exhibit A.

       3.      Accordingly, this Notice of Removal has been timely filed within thirty (30) days

of Defendants’ receipt of the Complaint as required by 28 U.S.C. § 1446(b).

       4.      The Complaint and the Summons received by Defendants constitute all of the

process, pleadings, and orders served upon Defendants in this action. Defendants have filed no

pleadings in the Superior Court in this action.

       5.      In this lawsuit, Plaintiff asserts a claim for hostile work environment in violation

of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq. (“Title VII”) and claims of

assault, battery, intentional infliction of emotional distress, negligent infliction of emotional

distress, and negligent retention and supervision pursuant to North Carolina state law (collectively

referred to as “State Law Claims”).

       6.      Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this

action because Plaintiff alleges a claim for hostile work environment pursuant to Title VII, which

is a federal cause of action over which this Court has original federal question jurisdiction. 28

U.S.C. §1331. Thus, this action may be removed on the basis of original federal question

jurisdiction pursuant to 28 U.S.C. § 1441(b).

       7.      Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

Plaintiff’s State Law Claims, as those claims are “so related [to Plaintiff’s Title VII claim] that

they form part of the same case or controversy under Article III of the United States Constitution.”




                                   -2-
       Case 3:19-cv-00120-MOC-DSC Document 1 Filed 03/08/19 Page 2 of 4
28 U.S.C. § 1367(a). Thus, Plaintiff’s State Law Claims may also be removed on that basis

pursuant to 28 U.S.C. § 1441(c).

       8.      Venue is proper in the United States District Court for the Western District of North

Carolina, Charlotte Division, as this case was originally filed in Mecklenburg County, North

Carolina. See 28 U.S.C. § 1446(a).

       9.      In accordance with 28 U.S.C. § 1446(d), a copy of this Notice will be filed with the

Clerk of the Superior Court and served upon all adverse parties promptly after the filing of the

original Notice of Removal in this action. A copy of the Notice of Filing of Notice of Removal is

attached hereto as Exhibit B.

       WHEREFORE, take notice that Defendants, by and through its undersigned counsel,

hereby removes the above-entitled action from the General Court of Justice, Superior Court

Division, Mecklenburg County, North Carolina, to the United States District Court for the Western

District of North Carolina, Mecklenburg Division.



                                        Respectfully submitted this 8th day of March, 2019.

                                        s/ Julie K. Adams
                                        Julie K. Adams, NC Bar No. 32773
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                                   -3-
       Case 3:19-cv-00120-MOC-DSC Document 1 Filed 03/08/19 Page 3 of 4
                              CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2019, a copy of the foregoing NOTICE OF REMOVAL

has been filed with the Court via CM/ECF system and served upon the following person(s) via US

Mail to:

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                                                              s/ Julie K. Adams
                                                              Julie K. Adams




                                  -4-
      Case 3:19-cv-00120-MOC-DSC Document 1 Filed 03/08/19 Page 4 of 4
